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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



GMO FREE USA d/b/a TOXIN FREE USA,


                      Plaintiff,       Case No. 1:22-cv-01277-DLF

            v.                         Hon. Dabney L. Friedrich


BURT’S BEES, INC., and THE CLOROX
COMPANY,


                      Defendants.


              MEMORANDUM OF POINTS AND AUTHORITIES
            IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND
                      AND FOR FEES AND COSTS
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                                        INTRODUCTION

       This is a private-attorney-general action filed by a D.C. Code § 28-3901(a)(15) public-

interest organization, on behalf of the general public and consumers of the District of Columbia

pursuant to D.C. Code § 28-3905(k). Plaintiff GMO Free USA d/b/a Toxin Free USA (“Toxin

Free USA” or “Plaintiff”), a non-profit organization, alleges that Defendants Burt’s Bees, Inc. and

The Clorox Company (collectively, “Defendants”) deceptively market Defendants’ cosmetics

products as “100% Natural” and made with “respect [for the] environment,” when in fact the

products contain indicators of synthetic per- and polyfluoroalkyl substances, or “PFAS,” chemicals

that are harmful to the environment. (Compl. Preamble.) The Complaint states one count, for

violations of the D.C. Consumer Protection Procedures Act (“CPPA”), D.C. Code § 28-3901 et

seq. (id. ¶¶ 84-90) and seeks only declaratory and injunctive relief to stop the conduct directed at

consumers in the District of Columbia (id. Prayer for Relief).

       Despite the lack of any damages or restitution at issue in this case, Defendants have

removed on the basis of federal diversity jurisdiction, claiming that the amount in controversy

exceeds $75,000. Defendants make this assertion notwithstanding the settled law in this District.

Defendants’ attempts to disregard this Court’s own rulings on the application of the long-

established non-aggregation principle to this case, under which courts of this District hold that the

cost of compliance with injunctive relief must be divided pro rata among potential beneficiaries of

that relief, are unavailing. Defendants offer no evidence that the cost of compliance in this case

would exceed $75,000 per member of the general public of the District and merely states that

Plaintiff’s claim independently meets the jurisdictional threshold. (Defendants’ Notice of Removal

(“Notice”), ¶¶ 10-17.) For these fatal flaws, the case must be remanded.




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        But even if the Court’s uniform precedent on the non-aggregation principle were to be

somehow discarded, Defendants have failed to meet their burden in establishing the amount in

controversy. Defendants offer no evidence to support its contention that the cost of compliance

with Plaintiff’s requested relief (to put an end to deceptive marketing directed at consumers in the

District) would exceed $75,000. Instead, Defendants rely upon a declaration by Defendant Burt’s

Bee’s Inc.’s VP & General Manager, Dallas Mariah Eckhart, that broadly speculates as to the cost

of the most expensive, least efficient means by which it might correct its false advertising—far

beyond what is requested in the Complaint. This contradicts established precedent that requires

the removing party to both go beyond mere speculation and to prove the reasonableness of the

estimated cost of compliance.

        Defendants also ignore settled precedent on the use of attorneys’ fees to meet the

jurisdictional minimum, disregarding the District’s holdings applying the non-aggregation

principle to attorneys’ fees (or alternatively setting attorneys’ fees at $0 in cases seeking only

injunctive and declaratory relief on behalf of the general public).

        In short, Defendants’ removal of this case lacks any reasonable basis. Defendants’

arguments ignore the settled law of this District, which has uniformly found that similar false-

advertising cases—arising under the CPPA and seeking only injunctive and declaratory relief—

must be remanded. In conversations with Plaintiff’s counsel, Defendants have been made aware

of this District’s past case law on these matters, as well as this Court’s own ruling following that

precedent and holding that there is “no reason to depart from the consensus of courts in this

district” regarding the non-aggregation principle. Toxin Free USA v. J.M. Smucker Co., 507 F.

Supp. 3d 40, 46 (D.D.C. 2020) (Friedrich, J.).1 Defendants have moved for removal and oppose


    1
      In an email to Plaintiff’s counsel on May 18, 2022, Defendants stated simply that they “disagree” with this
Court’s decision in J.M. Smucker Co., citing to out-of-circuit case law.


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remand despite knowing that their position is unsupported by case law and objectively

unreasonable in light of this Court’s past rulings. Such blatant delay tactics waste the time and

resources of Plaintiff and the Court. Accordingly, Plaintiff respectfully requests that its motion to

remand be granted, and because no reasonable basis existed for removal or for opposition of

remand, that it receives its costs associated with seeking remand.

                                          ARGUMENT

       Pursuant to 28 U.S.C. § 1441(a), a civil action filed in state court may be removed to a

United States District Court only if the case originally could have been brought in federal court.

“Courts in this circuit have construed removal jurisdiction strictly, favoring remand where the

propriety of removal is unclear.” Ballard v. District of Columbia, 813 F. Supp. 2d 34, 38 (D.D.C.

2011) (Roberts, J.); see also Busby v. Capital One, N.A., 841 F. Supp. 2d 49, 53 (D.D.C. 2012)

(Urbina, J.) (“Courts must strictly construe removal statutes. The court must resolve any

ambiguities concerning the propriety of removal in favor of remand.” (citations omitted)); Hood

v. F. Hoffman-La Roche, Ltd., 639 F. Supp. 2d 25, 28 (D.D.C. 2009) (Hogan, J.) (citing Gasch v.

Hartford Accident & Indem. Co., 491 F.3d 278, 281-82 (5th Cir. 2007)). “When the plaintiff makes

a motion to remand, the defendant bears the burden of proving federal jurisdiction.” Busby, 841 F.

Supp. 2d at 53.

I.     Defendants’ Removal Ignores the Settled Law of This District, Which Holds That the
       Non-Aggregation Principle Applies to CPPA Claims on Behalf of the General Public.

       Defendants have removed on the basis of federal diversity jurisdiction. (Notice ¶ 7.)

Plaintiff Toxin Free USA is a D.C. Code § 3901(a)(15) public-interest organization and brings this

CPPA action on behalf of consumers and the general public pursuant to D.C. Code § 28-

3905(k)(1)(D). (Compl. Preamble, ¶¶ 14-22.) Plaintiff’s Complaint seeks only injunctive and

declaratory relief. (Id. Prayer.) According to long-standing, uniform precedent in this District,



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when a CPPA case on behalf of the general public seeks only declaratory and injunctive relief, the

cost of compliance must be calculated on a per-affected-individual basis, according to the non-

aggregation principle of Snyder v. Harris, 394 U.S. 332, 335 (1969). That is, in order to establish

federal diversity jurisdiction, Defendants would need to establish that the $75,000 jurisdictional

minimum, see 28 U.S.C. § 1332(a), is met for each member of the D.C. general public represented

in this litigation. Relevant decisions, issued over the last dozen years include at least these:


   •   Earth Island Inst. v. Coca-Cola Co., No. 21-cv-1926 (PLF), 2022 U.S. Dist. LEXIS 53414,
       at *9 (D.D.C. Mar. 24, 2022): “The Court . . . joins the ‘chorus of courts’ in this district
       that have uniformly held that in analogous cases ‘the cost of the injunction must be divided
       pro rata among District of Columbia consumers.’” (internal citation omitted).

   •   Earth Island Inst. v. BlueTriton Brands, No. 21-cv-2659 (JEB), 2022 U.S. Dist. LEXIS
       15168, at *8 (D.D.C. Jan. 27, 2022): “Persuaded by the thoughtful opinions penned by its
       numerous colleagues who have tackled this issue, the Court ‘concludes that the appropriate
       measure of the requested injunctive relief is not the amount that [Defendant] must spend
       to comply with the injunction, but that amount divided by the number of members of the
       public on whose behalf Plaintiff brings the action.’” (internal citation omitted).

   •   Beyond Pesticides v. Exxon Mobil Corp., No. 20-cv-1815 (TJK), 2021 U.S. Dist. LEXIS
       53032, at *4 (D.D.C. Mar. 22, 2021): “[I]n suits brought under D.C. Code § 28-3905(k)(1),
       like this one, courts in this District have consistently applied the non-aggregation principle
       to hold that, if a purported amount in controversy is calculated by reference to a defendant's
       cost of compliance with an injunction, the total cost of compliance must be divided by the
       number of the injunction's beneficiaries.”

   •   J.M. Smucker Co., 507 F. Supp. 3d 40, 45-46 (D.D.C. Nov. 30, 2020) (Friedrich, J.):
       “Courts in this district have consistently held that defendants removing DCCPPA actions
       ‘cannot rely on the total cost of compliance with the plaintiff’s requested injunction to
       establish the amount-in-controversy’ requirement of § 1332(a).” (internal citation
       omitted).

   •   Food & Water Watch, Inc. v. Tyson Foods, Inc., No. 19-cv-2811 (APM), 2020 U.S. Dist.
       LEXIS 38232, at *15-16 (D.D.C. Mar. 5, 2020): “[C]onsistent with the decisions of courts
       in this District, the court finds that for purposes of calculating the amount in controversy,
       the cost of the injunction to Defendant must be divided pro rata among the members of the
       general public of the District of Columbia.”

   •   Hackman v. One Brands, LLC, No. 18-2101 (CKK), 2019 U.S. Dist. LEXIS 55635, at *18
       (D.D.C. Apr. 1, 2019): “Accordingly, the Court follows the vast weight of authority in this



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    Circuit and concludes that the non-aggregation principle should be applied to the cost of
    Defendant’s compliance with an injunction.”

•   Inst. for Truth in Mktg v. Total Health Network Corp., 321 F. Supp. 3d 76, 91 (D.D.C.
    2018) (Jackson, J.): “Consistent with persuasive precedents in this district, this Court
    concludes that the appropriate measure of the requested injunctive relief is not the amount
    that Total Health must spend to comply with the injunction, but that amount divided by the
    number of members of the public on whose behalf Plaintiff brings the action.”

•   Organic Consumers Ass’n v. R.C. Bigelow, Inc., 314 F. Supp. 3d 344, 350 (D.D.C. 2018)
    (Walton, J.): “[T]he overwhelming weight of authority within th[is] District indicates that
    defendants seeking to remove [CPPA] actions cannot rely on the total cost of compliance
    with the plaintiff’s requested injunction to establish the amount-in-controversy, as that
    would violate the non-aggregation principle set forth by the Supreme Court.”

•   Animal Legal Defense Fund v. Hormel Foods Corp., 249 F. Supp. 3d 53, 59 (D.D.C. 2017)
    (Kollar-Kotelly, J.): “[A]lthough the cost to the defendant is one available measure of the
    amount in controversy, the Court concludes that it would not be an appropriate measure to
    apply in this particular case because to do so would not comport with the non-aggregation
    principle.”

•   Smith v. Abbott Laboratories, Inc., No. 16-501 (RJL), 2017 U.S. Dist. LEXIS 135478, at
    *4 (D.D.C. Mar. 31, 2017): “[T]he overwhelming weight of authority within the District
    indicates that defendants seeking to remove DCCPA actions cannot rely on the total cost
    of compliance with the plaintiff’s requested injunction to establish the amount-in-
    controversy, as that would violate the non-aggregation principle set forth by the Supreme
    Court.”

•   Breathe DC v. Santa Fe Natural Tobacco Co., 232 F. Supp. 3d 163, 171 (D.D.C. 2017)
    (Huvelle, J.): “The Court must consider whether the total cost of compliance divided
    among the beneficiaries still meets the amount in controversy.”

•   Organic Consumers Ass’n v. Handsome Brook Farm Group 2, LLC, 222 F. Supp. 3d 74,
    78 (2016) (Cooper, J.): “Consistent with this prior authority, the Court finds that the
    individual cost to each plaintiff must exceed $75,000 for jurisdiction to exist. Because
    Handsome Brook has made no attempt to show that the $75,000 threshold is met for each
    plaintiff, it has not established that diversity jurisdiction exists.”

•   Witte v. Gen. Nutrition Corp., 104 F. Supp. 3d 1, 6 (D.D.C. 2015) (Huvelle, J.):
    “Defendants’ argument—that this Court should consider their total compliance costs in
    calculating the amount in controversy—would circumvent the non-aggregation principle
    articulated in Snyder and Zahn [v. International Paper Corp., 414 U.S. 291 (1973)].”

•   Breakman v. AOL, LLC, 545 F. Supp. 2d 96, 105 (D.D.C. 2008) (Bates, J.): “[T]his Court
    agrees that the cost-to-defendant test is inapplicable to the current diversity action. That
    result is, moreover, consistent with the general rule that the proper measure of the amount
    in controversy is from the perspective of the relief sought by the plaintiff.”


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Defendants have neither attempted to establish that the jurisdictional minimum is met for each

member of the D.C. general public nor even acknowledged this precedent which directly

contravenes its removal petition.

          Defendants’ attempts to evade this Court’s well-established precedent regarding the

application of the non-aggregation principle in CPPA actions are unavailing. First, despite the

overwhelming precedent to the contrary, Defendants argues that the non-aggregation principle

does not apply because “there is only one plaintiff in this action” (Notice ¶ 14.) “Judges in this

district, however, have uniformly and ‘persuasively debunked this precise argument.’” Coca-Cola

Co., 2022 U.S. Dist. LEXIS 53414 at *8 (quoting BlueTriton, 2022 U.S. Dist. LEXIS 15168 at

*9).

          Defendants’ argument is based on a requirement that simply does not exist; the non-

aggregation principle looks to the number of beneficiaries, not to the number of plaintiffs:

          Defendants respond that, because “this is a single-plaintiff action, not a class action
          or other multi-claimant lawsuit,” there is “no basis for the Court to ‘disaggregate’”
          the costs of compliance among the beneficiaries. Plaintiff has the better
          argument. . . . [A]lthough the Court spoke in terms of “plaintiffs”
          in Synder and Zahn [v. Int'l Paper Co., 414 U.S. 291, 94 S. Ct. 505 (1973)], the
          rationale extends equally to actions brought by nonprofit groups where the
          beneficiaries need not be added as parties to the lawsuit.

Breathe DC, 232 F. Supp. 3d at 170-71 (internal citations omitted) (emphasis added). The plain

language of Plaintiff’s Complaint makes clear that it brings this action on behalf of multiple

intended beneficiaries. (E.g., Compl. ¶ 21 (“on behalf of the general public, i.e., D.C. consumers

generally”.) This is also supported by the language, purpose, and routine application of the CPPA.

See, e.g., D.C. Code § 28-3905(k)(1)(D)(i) (“[A] public interest organization may, on behalf of

the interests of a consumer or class or consumers, bring an action seeking relief . . . .”) (emphasis

added).




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        Defendants next aver that even if the Complaint “were interpreted to include additional

plaintiffs” the non-aggregation principle would not apply because the “relief Plaintiff seeks is

indivisible.” (Notice ¶ 14.) But “[e]very judge in this district to have considered the issue has

rejected this exact argument and has found the exception to the non-aggregation rule to be

inapplicable to CPPA actions for injunctive relief.” Coca-Cola Co., 2022 U.S. Dist. LEXIS 53414

at *10-11. See also, e.g., Exxon Mobil Corp., 2021 U.S. Dist. LEXIS 53032 at *4-5 (“[W]hatever

its applicability in other contexts, no court in this District has ever applied that exception to permit

circumvention of the non-aggregation principle in a case brought by a single plaintiff involving

the type of claims and relief at issue here.”); Clean Label Project Found. v. Now Health Group,

Inc., No. 21-11 (JDB), 2021 U.S. Dist. LEXIS 125488, at *11 (D.D.C. July 6, 2021) (“The

disaggregation of injunctive costs in DCCPPA actions follows logically from the fact that

representative actions for injunctive relief brought under the DCCPPA are not seeking to enforce

a ‘common and undivided interest’ as would exempt them from non-aggregation.”). This Court

has also explicitly rejected this argument, as Defendants are aware (see supra Introduction). See

J.M. Smucker Co., 507 F. Supp. 3d at 46 (“Toxin Free does not seek any integrated claim for

relief—like disgorgement of the defendants’ profits—that would hold defendants generally liable

for a fixed amount in which the members of the general public in Washington, D.C. would have a

common and undivided interest.”).

        Defendants also argue that Plaintiff’s request for attorneys’ fees can be considered to

establish the amount in controversy in CPPA actions. (Notice ¶ 15.) The assertion that the mere

request for attorneys’ fees provides the jurisdictional minimum, like Defendants’ other

unsupported contentions regarding the non-aggregation principle, overlooks the settled law of this

District. Attorneys’ fees, for purposes of this action, are either divided pro rata or else apportioned




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at $0, and even if they were not, Defendants have provided no evidence beyond mere speculation

relating to attorneys’ fees. Coca-Cola Co., 2022 U.S. Dist. LEXIS 53414 at *12 (“[T]he bottom

line is that attorneys' fees are still subject to the non-aggregation principle . . . or otherwise

apportioned to $0 in actions for injunctive relief under the CPPA.”).

       First, in a private-attorney-general CPPA claim, attorneys’ fees, like the cost of injunctive

relief, must be considered for jurisdictional purposes on a pro rata basis, divided amongst the

consumers on whose behalf the suit is brought: “Plaintiff argues that considering the total amount

of attorneys’ fees in a DCCPPA case brought on behalf of the general public would not comport

with the non-aggregation principle. [] This position finds considerable support in a number of

district court opinions from this Circuit.” Animal Legal Def. Fund, 249 F. Supp. 3d at 62 (citing

Nat’l Consumers League v. Bimbo Bakeries USA, 46 F. Supp. 3d 64, 73 (D.D.C. 2014) (Lamberth,

J.); see also, e.g., Exxon Mobil, 2021 U.S. Dist. LEXIS 53032 at *5 (“Courts in this District have

also applied the non-aggregation principle to attorneys’ fees.”); Nat’l Consumers League v. Gen.

Mills, Inc., 680 F. Supp. 2d 132, 141 (D.D.C. 2010) (Kennedy, J.); Breakman, 545 F. Supp. 2d at

107. Defendants flatly disregards this overwhelming precedent.

       Second, in the alternative, when a private attorney general sues for CPPA injunction,

without damages, the amount of attorneys’ fees for jurisdictional purposes can simply be set at $0:

       Courts in this district generally agree that if attorneys’ fees are recoverable by
       statute, they can be included in the amount-in-controversy calculation but must be
       apportioned amongst the individual consumers. And only each individual plaintiff’s
       share can be considered as part of the amount in controversy. . . . But when, like
       here, a plaintiff “is suing under [the private attorney general provision of the
       DCCPPA] and is recovering no independent damages, the amount of attorneys’ fees
       applicable to it for jurisdictional purposes are $0.”

Handsome Brook Farm Grp. 2, LLC, 222 F. Supp. 3d at 78-79 (citations omitted) (quoting Bimbo

Bakeries, 46 F. Supp. 3d at 73).




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         Third, even if attorneys’ fees could be counted toward the jurisdictional minimum, and

were allowed to be aggregated, Defendants have provided no evidence suggesting what the

attorneys’ fees in fact will be, only vague speculative recitals of what attorneys’ fees have

amounted to in other CPPA cases. (Notice ¶ 15.) See, e.g., Exxon Mobil, 2021 U.S. Dist. LEXIS

53032, at *5 n.1 (“Even if the non-aggregation principle did not apply, Exxon Mobil’s bald claim

that, at lead counsel's $700-an-hour rate, ‘the amount in controversy will exceed $75,000 so long

as [lead counsel] alone bills just 110 hours to this complex litigation,’ is too speculative to meet

its burden.”) (internal citations omitted); Animal Legal Def. Fund, 249 F. Supp. 3d at 63

(“Defendant’s showing regarding attorneys’ fees is too speculative. Numerous courts have rejected

similar attempts to create federal jurisdiction through speculative assertions as to the potential for

an award of attorneys’ fees.”); Bimbo Bakeries, 46 F. Supp. 3d at 74 (“Defendant’s speculation or

conclusory statements as to the amount of attorneys’ fees is insufficient to establish a jurisdictional

amount.”); Your Girl Friday, LLC v. MGF Holdings, Inc., No. 06-0385 (ESH), 2006 U.S. Dist.

LEXIS 20665, at *8 (D.D.C. Apr. 18, 2006) (“[D]efendant’s conjecture regarding the possible

amount of fees is inadequate to support an assertion of diversity jurisdiction in this case[.]”).

Defendants provide no evidence relating to attorneys’ fees in this case, only a conclusory statement

that in CPPA actions these fees “can reach into the hundreds of thousands of dollars.” (Notice

¶ 15.)

         Thus, despite Defendants’ attempts to argue to the contrary, the law in this District is clear.

The non-aggregation principle applies, and this case must be remanded to the proper forum, the

Superior Court of the District of Columbia.




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II.    Even Apart From Contravening Settled Precedent of This District, Defendants’
       Removal Is Flawed.

       As set forth in Part I, supra, the settled and uncontroverted precedent of this District holds

that a CPPA action on behalf of the general public is not removable unless the $75,000

jurisdictional minimum is met for each member of the D.C. public. But even if that caselaw did

not exist, the Notice of Removal would fail because the cost “estimates” that Defendants cite are

speculative, unsupported by evidence, and go far beyond the relief actually sought by the

Complaint.

       Even if the cost of compliance could be aggregated—and as set forth above, it cannot, and

instead must be divided on a per capita basis—the overblown estimated costs and vague, sweeping

measures that Defendants cite are speculative and unreasonable, given what is available in a CPPA

action. This is the relief sought by Plaintiff’s Complaint in this matter:

       A.      a declaration that Defendants’ conduct is in violation of the DC CPPA;

       B.      an order enjoining Defendants’ conduct found to be in violation of the DC CPPA;

       C.      an order granting Plaintiff costs and disbursements, including reasonable attorneys’
               fees and expert fees, and prejudgment interest at the maximum rate allowable by
               law.

(Compl. Prayer for Relief.) The reach of the CPPA is limited to the District of Columbia. See D.C.

Code § 28-3901(c) (“This chapter establishes an enforceable right to truthful information from

merchants about consumer goods and services that are or would be purchased, leased, or received

in the District of Columbia.”). Accordingly, any injunction of Defendants’ marketing, or other

relief, would be required only as to services offered in the District. Moreover, the Complaint

challenges only Defendants’ marketing of its products, not the formulation or manufacture of its

products; Plaintiff does not seek, and the Court could not order, sweeping changes to the

formulation or manufacturing processes of Defendants’ products.



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       Notwithstanding the foregoing, and common sense, Defendants submit the declaration of

Defendant Burt’s Bees Inc.’s VP & General Manager, Dallas Mariah Eckhart, opining that

complying with Plaintiff’s relief would entail such comprehensive measures as “modify[ing] the

manufacturing processes or the sourcing for the Products to remove supposed contaminants[,] . . .

design and roll out new packaging for each of the products[,] . . . [and] modify content on third-

party websites, which Defendants do not control. ” (Eckhart Decl. (Ex. H to Notice) ¶¶ 4-6.) This

description of the requested relief is far beyond what is actually sought in the Complaint. To begin,

the injunctive action Plaintiff seeks in the Complaint makes no mention, anywhere, of this

purported relief; a simple review of the Prayer for Relief, quoted above, demonstrates that Plaintiff

does not request that the Court order Defendants to modify their manufacturing processes, change

all packaging nationwide, or update all online materials nationwide, including third-party websites.

Nor do Defendants explain how, under the CPPA, a court could lawfully order such relief. The

Complaint alleges that Defendants are misleading D.C. consumers about the nature of the

Products, which violates the CPPA, and asks the Superior Court to stop this CPPA violation.

Suggesting that Defendants would stop misrepresenting Products sold in the District by changing

their entire marketing regime and/or manufacturing processes, would undoubtedly be the costliest,

most inefficient method of achieving simple, targeted relief.

       Defendants’ estimates would not establish the jurisdictional minimum by a preponderance

of the evidence, even if the amount were aggregated for all D.C. consumers. Measuring the cost-

of-compliance metric for determining the amount-in-controversy in cases seeking injunctive relief

puts the burden of “establishing the reasonableness” of the estimate on the party seeking removal.

Fahey v. Godiva Chocolatier, Inc., No. 19-2128 (JDB), 2020 U.S. Dist. LEXIS 27073, at *10-11

(D.D.C. Feb. 18, 2020) (granting remand where defendant’s estimated cost-of-compliance was




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“speculative and unreasonable”). Declarant Eckhart merely speculates about relief not available in

a CPPA action and how much that might cost. Such speculation does not meet Defendants’ burden,

in any event. See, e.g., Inst. for Truth in Mktg., 321 F. Supp. 3d at 89 (“It is well established that a

defendant may not rely on sheer speculation to satisfy its burden of showing the amount in

controversy. See Wexler v. United Air Lines, Inc., 496 F. Supp. 2d 150, 154 (D.D.C. 2007).”).

III.    Plaintiff Is Entitled to Its Fees and Costs Associated With This Remand.

        Plaintiff Toxin Free USA requests to recoup its just costs and actual expenses, including

attorneys’ fees, associated with returning this case to the District of Columbia Superior Court, on

the basis that Defendants lacked an objectively reasonable basis for removal and refused to consent

to remand even after being informed by Plaintiff of this Court’s prior rulings rejecting Defendants’

arguments. See 28 U.S.C. § 1447(c); Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005);

Stein v. Am. Express Travel Related Servs., 813 F. Supp. 2d 69, 74 (D.D.C. 2011) (Kessler, J.).

Plaintiff is an IRS Code § 501(c)(3)-exempt, D.C. Code § 28-3901(a)(15) public-interest

organization seeking no monetary relief, only an end to misleading conduct directed at D.C.

consumers. Defendants have removed a straightforward consumer-deception claim from

Plaintiff’s chosen forum, D.C. Superior Court, which has the most experience handling CPPA

actions. Defendants’ unfounded removal has (1) forced expense upon Plaintiff, and (2) delayed an

action that aims to end ongoing conduct. Plaintiff asks the Court, in deciding whether Defendants

had an objectively reasonable basis for removal, to consider the following:

        •   Defendants have removed on the basis of aggregated relief exceeding $75,000, with no
            reference to 12 years of uncontroverted precedent from this District holding that such
            relief may not be aggregated;

        •   Even to establish the jurisdictional threshold on an impermissible aggregated basis,
            Defendants produce virtually no evidence, and instead speculate on the cost of relief
            not sought in the Complaint; and




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        •   When they rely on a request for attorneys’ fees to establish the jurisdictional threshold,
            Defendants again fail to cite directly applicable precedent from this District or to
            provide any evidence.

Because there was no objectively reasonable basis for removal of this private-attorney-general

action, Plaintiff requests recovery of its costs associated with seeking remand of its CPPA claim

to the Superior Court, according to the precedent of this District. See e.g., Burton v. Coburn, No.

04-965 (RBW), 2005 U.S. Dist. LEXIS 4243, at *6-7 (D.D.C. Mar. 16, 2005) (“Here, the

defendant’s arguments for removal—that complete diversity exists—defies firmly established

principles of law. . . . It is difficult for this Court to fathom that the defendants could have in good

faith misconstrued the law in this area.”); Johnson-Brown v. 2200 M St. LLC, 257 F. Supp. 2d 175,

181 (D.D.C. 2003) (Urbina, J.) (“Courts uniformly have held that a relevant factor for imposing

costs and expenses is whether the removing party contradicts well-settled law in attempting to

remove the case to federal court. Indeed, if non-removability is obvious or contrary to well-settled

law, courts regularly impose costs and expenses incurred as a result of the removal.”).

        Plaintiff recognizes that this Court has previously denied requests for attorneys’ fees in

similar circumstances, on the basis that there is no “controlling case law from the D.C. Circuit” on

the issue. J.M. Smucker Co., 507 F. Supp. 3d at 47. But Plaintiff urges the Court to consider that

Defendants are aware in this instance that “non-removability is obvious,” Gen. Mills Inc., 680 F.

Supp. 2d at 141, having been made aware of not only the overwhelming weight of precedent in

this District, but of this Court’s unequivocal endorsement of that precedent. See supra

Introduction. Having been made aware of the obvious non-removability of this action, Defendants

could have saved the parties and the Court unnecessary expenditure of time and resources by

consenting to remand, but chose not to do so.

        Removing CPPA cases of this kind, despite the certainty of the cases being remanded, has

become a favorite delay tactic of defendants—including of Defendants’ counsel in this case, who


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recently tried the same arguments unsuccessfully in BlueTriton. 2022 U.S. Dist. LEXIS 15168.

Until consequences for this misuse of the judicial process are imposed, defendants will continue

to burden parties and the Court with unnecessary motion practice on settled issues.

                                        CONCLUSION

       For all the foregoing reasons, Plaintiff requests an order remanding this action to the

Superior Court of the District of Columbia and awarding its costs and expenses associated with

seeking remand.

DATED: May 18, 2022                                         Respectfully submitted,

                                                            /s/ Kim E. Richman
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                                CERTIFICATE OF SERVICE

       I, Kim E. Richman, hereby certify that on May 18, 2022, I caused a true and correct copy

of the foregoing document to be served on counsel of record for Defendants in the above-captioned

Action via ECF:

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